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5                 IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF CALIFORNIA
6

7                 UNITED sTATES OF                         Case No. CR-S-09-196
     aMERICA,                                  GEB

8
                  Plaintiff,
                                                           STIPULATION AND
9
     vs.                                       ORDER
                                                       CONTINUING
10                                             JUDGEMENT
                  MICHAEL LEON
     W ILLIAMS,                                        AND SENTENCING DATE
11
                  Defendant
12
                  Defendant: MICHAEL LEON W ILLIAMS, through his attorney,
13
     PETER KMETO, and the United States of America, through its counsel of record,
14
     MICHAEL BECKW ITH, stipulate and agree to the following:
15
                  1. The presently scheduled Judgment and Sentencing date of
16
     October 11, 2013 shall be vacated as to defendant, MICHAEL LEON W ILLIAMS,
17
     and said Hearing be rescheduled for January 10, 2014 at 9:00 a.m..
18


                  [P LEADING T ITLE] - 1
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1                2. Defense counsel is unavailable due to his participation in an out of

2    county Death Penalty trial. Additionally, Defendant is experiencing new medical

3    issues which may prove pertinent to sentencing issues. Consequently, in order to

4    provide additional time for Defense preparation, the parties stipulate to the new

5    sentencing date

6                IT IS SO STIPULATED.

7                Dated: October 7, 2013           /s/ MICHAEL BECKW ITH
                                                  Assistant US Attorney
8                                                 for the Government

                 Dated: October 7, 2013           /s/ PETER KMETO
9
                                                  Attorney for Defendant
                                                  MICHAEL LEON W ILLIAMS
10

11
                                                 ORDER
12
                 UPON GOOD CAUSE SHOW N and the stipulation of the two parties
     IT IS ORDERED that the HEARING FOR JUDGEMENT AND SENTENCING in
13   the above entitled matter be continued to January 10, 2014, as set forth above.

14
                 Dated: October 8,
     2013
15

16
                                                   GARLAND E. BURRELL, JR.
                                                   Senior United States
17                                        District Judge

18


                 [P LEADING T ITLE] - 2
